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                         UNITED STATES DISTRICT COURT FOR THE
                                 DISTRICT OF COLUMBIA

-------------------------------------------------------------- x
ELENA TITOVA                                                   :
         Banyan Tree Residences                                :
         Apt. 2308                                             :
         Hillside                                              :
         Dubai, United Arab Emirates                           :
                                                               :
                           Plaintiff,                          :
                                                               :   Case No. 23-CV-1751-RC
         - against -                                           :
                                                               :
ANTONY J. BLINKEN                                              :   NOTICE OF VOLUNTARY
         in his official capacity as                           :   DISMISSAL WITHOUT
         Secretary of the United States                        :   PREJUDICE
         Department of State                                   :
         2201 C St., NW                                        :
         Washington, D.C. 20520                                :
                                                               :
THE UNITED STATES                                              :
DEPARTMENT OF STATE                                            :
         2201 C St., NW                                        :
         Washington, D.C. 20520                                :
                                                               :
JIM MULLINAX,                                                  :
         in his official capacity as                           :
         Director of the                                       :
         United States Department of State                     :
         Bureau of Economic and Business Affairs :
         Office of Economic Sanctions Policy                   :
         & Implementation                                      :
         2201 C St., NW                                        :
         Suite 4657                                            :
         Washington, D.C. 20520                                :
                                                               :
THE UNITED STATES DEPARTMENT OF                                :
STATE, OFFICE OF ECONOMIC                                      :
SANCTIONS POLICY AND                                           :
IMPLEMENTATION                                                 :
         2201 C St., NW                                        :
         Suite 4657                                            :
         Washington, D.C. 20520                                :
                                                               :
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JANET YELLEN,                                                  :
     in her official capacity as                               :
     Secretary of the United States                            :
     Department of the Treasury                                :
     1500 Pennsylvania Ave., NW                                :
     Washington, D.C. 20220                                    :
                                                               :
THE UNITED STATES DEPARTMENT OF                                :
THE TREASURY,                                                  :
         1500 Pennsylvania Ave., NW                            :
         Washington, D.C. 20220                                :
                                                               :
ANDREA M. GACKI,                                               :
         in her official capacity as                           :
         Director of the                                       :
         United States Department of the Treasury :
         Office of Foreign Assets Control                      :
         1500 Pennsylvania Ave., NW-Annex                      :
         Washington, D.C. 20220                                :
                                                               :
         and                                                   :
                                                               :
THE UNITED STATES DEPARTMENT                                   :
OF THE TREASURY, OFFICE OF FOREIGN                             :
ASSETS CONTROL,                                                :
         1500 Pennsylvania Ave., NW-Annex                      :
         Washington, D.C. 20220                                :
                                                               :
                           Defendants.                         :
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            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       WHEREAS, on July 20, 2023, Defendant OFAC removed Plaintiff Elena Titova’s name

from the Specially Designated Nationals and Blocked Persons List (the “SDN List”) and her

sanctions designation was rescinded; and

       WHEREAS, Defendant OFAC’s action effectively indicates that it approved Plaintiff’s

administrative request for reconsideration of her sanctions designation; and

       WHEREAS, the instant action sought relief in the form of the defendants adjudicating the

Plaintiff’s administrative request for reconsideration of her sanctions designation and the

removal of her name from the SDN List.

       NOW, THEREFORE, Plaintiff, Elena Titova, hereby dismisses this action in its entirety

without prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).


Dated: July 26, 2023

                                                             Respectfully submitted,

                                                             /s/ Amir H. Toossi
                                                             Amir H. Toossi
                                                             Akrivis Law Group PLLC
                                                             747 Third Avenue, 32nd Floor
                                                             New York, NY 10022
                                                             Telephone: (646) 280-6370
                                                             Email: atoossi@akrivislaw.com
                                                             Bar ID: NY0529

                                                             /s/ Farhad Alavi
                                                             Akrivis Law Group PLLC
                                                             5335 Wisconsin Avenue, Suite 440
                                                             Washington, D.C. 20015
                                                             Telephone: (202) 730-1271
                                                             Email: falavi@akrivislaw.com
                                                             Bar ID: 500560

                                                             Counsel for Elena Titova
